
659 S.E.2d 440 (2008)
Walter James FUCITO
v.
Francine Maria FRANCIS.
No. 381P07.
Supreme Court of North Carolina.
March 6, 2008.
Nick Galifianakis, Durham, David Krall, for Francis.
Lucy R. McCarl, Lenoir, for Fucito.


*441 ORDER

Upon consideration of the petition filed on the 6th day of August 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of March 2008."
